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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  CLELIA RICCARDI,                              CASE NO.:

         Plaintiff,
  v.

  FAY SERVICING, LLC and
  SN SERVICING CORPORATION,

         Defendant.
                                        /

                      COMPLAINT FOR DAMAGES WITH JURY DEMAND

       1.        Plaintiff, CLELIA RICCARDI (“Plaintiff” or “Mrs. Riccardi”), by and through

  undersigned counsel bring this complaint for damages with a demand for a jury trial against

  Defendant, FAY SERVICING, LLC for violations of the Fair Credit Reporting Act (“FCRA”) 15

  U.S.C. §1681 et seq., the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (the

  “FDCPA”) and the Florida Consumer Collection Practices act, Florida Statute §559.72 et. seq.

  (hereinafter “FCCPA”).

       2.        Plaintiff further alleges Defendant SN SERVICING CORPORATION has

  committed violations of the FDCPA and FCCPA.

                                       JURISDICTION AND VENUE

       3.        This Court has jurisdiction under 28 U.S.C. § 1331 because this action arises under

  the laws of the United States.

       4.        Venue here is proper under 28 U.S.C. § 1391 because a substantial part of the events

  giving rise to the claim occurred in Broward County, Florida.

       5.        This Court has supplemental jurisdiction to hear all state law claims that are pleaded

  herein or that may subsequently arise pursuant to 28 U.S.C. § 1367
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                                              PARTIES

       6.        Plaintiff is a natural person who, always relevant to this action is and was a resident

  of Broward County, Florida and is a “consumer” as defined by 15 U.S.C. §1692a(3).

       7.        Plaintiff is a “consumer” as defined by 15 U.S.C. § 1681a(c).

       8.        Plaintiff is a “consumer” as defined by Florida Statute §559.55(8).

       9.        Mrs. Riccardi is the owner of real property and improvements located at and

  commonly known as 1270 NW 48th Place, Deerfield Beach, FL 33064 (the “Home”).

       10.       Mrs. Riccardi currently maintains the Home as her primary residence and has

  always done so relevant to the allegations in this Complaint.

       11.       Defendant, Fay Servicing, LLC is an Illinois Corporation, authorized to do business

  in the state of Florida with a registered agent listed as REGISTERED AGENT SOLUTIONS, INC.

  at 155 OFFICE PLAZA DR. SUITE A, TALLAHASSEE, FL 32301.

       12.       Defendant, Fay Servicing, LLC (“Fay Servicing”) uses instrumentalities of

  interstate commerce in a business the principal purpose of which is the collection of debts.

       13.       These instrumentalities of interstate commerce are largely electronic, written, or

  telephonic communications used to contact consumers within the state of Florida, or third parties

  who receive information regarding these consumers’ accounts.

       14.       Fay Servicing is a “debt collector” within the meaning of 15 U.S.C. § 1692a(6) and

  Florida Statute §559.55(7).

       15.       Fay Servicing is the previous servicer of a note (the “Note”) and a mortgage on the

  Home that allegedly secures the Note (the “Mortgage”) (collectively referred to as the “Loan”).

       16.       At all times material hereto, Fay Servicing regularly collects or attempts to collect

  debts for other parties and is a "debt collector" as defined under 15 U.S.C. 1692a(6).
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       17.       Defendant, SN Servicing Corporation (“SNSC”) is a California corporation,

  authorized to do business in the state of Florida with a registered agent listed as The Prentice-Hall

  Corporation System, Inc. at 1201 Hays Street, Tallahassee, FL 32301.

       18.        SNSC uses instrumentalities of interstate commerce in a business the principal

  purpose of which is the collection of debts.

       19.       SNSC is a “debt collector” within the meaning of 15 U.S.C. § 1692a(6) and Florida

  Statute §559.55(7).

       20.       These instrumentalities of interstate commerce are largely electronic, written, or

  telephonic communications used to contact consumers within the state of Florida, or third parties

  who receive information regarding these consumers’ accounts.

       21.       SNSC is current servicer of the Loan.

       22.       The Loan is currently owned by US Bank Trust National Association as Trustee of

  the Igloo Series V Trust.

       23.       At all times material hereto, SNSC regularly collects or attempts to collect debts

  for other parties and is a "debt collector" as defined under 15 U.S.C. 1692a(6).

                                       STATUTORY FRAMEWORK

         The FCRA

       24.       The Fair Credit Reporting Act, 15 U.S.C. §1681 et. seq., was originally enacted in

  1970 for the purpose of regulating the collection, dissemination, and use of consumer credit

  information.

       25.       Congress found that “[i]nnacurate credit reports directly impair the efficiency of

  the banking system, and unfair credit reporting methods undermine the public confidence which

  is essential to the continued functioning of the banking system.” 15 U.S.C. §1681(a)(1).
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       26.       “The aim of the Fair Credit Reporting Act is to see that the credit reporting system

  serves the consumer as well as the industry. The consumer has a right to information which is

  accurate; he has a right to correct inaccurate or misleading information; he has a right to know

  when inaccurate information is entered into his file; he has a right to see that the information is

  kept confidential and is used for the purpose for which it is collected; and he has a right to be free

  from unwarranted invasions of his personal privacy.” The Fair Credit Reporting Act seeks to

  secure these rights.” Hearings on S. 823 Before the Subcomm. on Financial Institutions of the S.

  Comm. on Banking and Currency, 91st Cong. 2 (1969).

       27.       A “furnisher of information” provides information about consumers’ credit history

  to credit reporting agencies. 15 U.S.C. §1681s-2.

       28.       “Furnishers of information” under the FCRA, pursuant to 15 U.S.C. §1681s-2(b) to

  conduct a reasonable investigation into each of the written disputes that it receives from the credit

  reporting agencies. See also Hinkle v. Midland Credit Mgmt., Inc., 827 F.3d 1295, 1302 (11th Cir.

  2016).

       29.       The FCRA provides a private right of action against any person that violates the

  provisions of the FCRA. 15 U.S.C. §§ 1681o, 1691n.

       30.       If the violation is negligent, the FCRA allows the consumer to recover actual

  damages (§ 1681o(a)); however, if the violation is willful, the consumer may recover any actual

  damages or statutory damages from not less than $100.00 and not more than $1,000. § 1681n(a).

       31.       Under the FCRA, the term “consumer report” generally refers to:

             any written, oral, or other communication of any information by a consumer
             reporting agency bearing on a consumer’s credit worthiness, credit standing,
             credit capacity, character, general reputation, personal characteristics, or
             mode of living which is used or expected to be used or collected in whole or
             in part for the purpose of serving as a factor in establishing the consumer’s
             eligibility for:
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                  i.      credit or insurance to be used primarily for personal, family,
                          or household purposes;

                  ii.     employment purposes; or

                  iii.    any other purpose authorized under section 1681b of this
                          title.

        15 U.S.C. § 1681a(d)(1).

        32.       The terms “consumer report”, “credit report”, and “consumer credit report” are used

 synonymously herein.

        National CRAs and Furnishers Communicate Consumer Disputes and Responses via the E-
        Oscar Reporting Platform

        33.       The FCRA requires Credit Reporting Agencies (“CRAs”) to implement an

 automated reinvestigation system through which furnishers of information to the CRA may report

 the results of a reinvestigation that finds incomplete or inaccurate information in a consumer’s file.

 15 U.S.C. § 1681i(a)(5)(D).

        34.       To comply with the automated dispute reinvestigation requirements of the FCRA,

 Trans Union, Equifax, and Experian (the three major “National CRAs”), along with Innovis Data

 Solutions, Inc., developed and implemented a browser- based software system that allows the CRAs

 to electronically notify furnishers quickly and easily of disputed credit reporting information, and

 for furnishers to quickly and easily respond to such disputes following the furnisher’s investigation

 of the disputed information.

        35.       The system is commonly referred to as e-OSCAR (Online Solution for Complete

 and Accurate Reporting) and was designed to be Metro 2 compliant. See http://www.e-oscar.org/

 (last accessed December 29, 2022).
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        36.       The e-OSCAR system primarily supports Automated Credit Dispute Verification

 (“ACDV”) and Automated Universal Data Form (“AUD”) processing, as well as other consumer-

 dispute-related processes. Id.

        37.       The National CRAs, provide notice of a consumer’s dispute to data furnishers in

 the ACDV format, and forward the ACDV to the furnisher through e- OSCAR.

        38.       If a furnisher’s investigation of a consumer’s dispute determines that the

 information in dispute is incomplete or inaccurate, the FCRA requires the furnisher to correct the

 information not only with the CRA that sent the ACDV, but with all other CRAs to whom the

 furnisher reported that information. 15 U.S.C. § 1681s-2(b)(1)(D).

        39.       The e-OSCAR system facilitates the furnisher’s compliance with 15 U.S.C. §

 1681s-2(b)(1)(D) by sending a “Carbon Copy” of an ACDV response “to each CRA with whom the

 [furnisher] has a reporting relationship” in addition to the response to the initiating CRA. See

 https://www.e-oscar.org/getting-started/about-us (last accessed December 29, 2022).

        40.       Additionally, a furnisher can manually correct a tradeline with a CRA other than

 the one that initiated a dispute by sending an AUD within e-OSCAR.

        41.       Trans Union, Experian, and Equifax each require data furnishers that report to them

 respectively to register with and use e-OSCAR, and states that e-OSCAR is “in compliance with

 FCRA and Metro 2 standards.” See, https://www.transunion.com/data-reporting/support-teams (last

 accessed December 29, 2022).

          The FDCPA

        42.       The FDCPA provides, in relevant part: A debt collector may not use any false,

 deceptive, or misleading representation or means in connection with the collection of any

 debt. Without limiting the general application of the foregoing, the following conduct is a violation
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 of this section: (2) The false representation of -- (A) the character, amount, or legal status of any

 debt … 15 U.S.C. § 1692e.

        43.       A consumer has a right under the FDCPA to receive information from a debt

 collector that is not “false, deceptive, or misleading.” Pralle v. Cooling & Winter, LLC, No. 2: 16-

 cv-865-FtM-99CM (M.D. Fla. May 2, 2017).

        44.       The FDCPA defines the term “consumer” as “any natural person obligated or

 allegedly obligated to pay any debt.” 15 U.S.C. § 1692a(3) (emphasis added).

        45.       The FDCPA defines the term “debt” as “any obligation or alleged obligation of a

 consumer to pay money arising out of a transaction in which the money, property, insurance, or

 services which are the subject of the transaction are primarily for personal, family, or household

 purposes, whether or not such obligation has been reduced to judgment.” 15 U.S.C. § 1692a(5)

 (emphasis added).

        46.       The FDCPA defines the term “debt collector” as “any person who uses any

 instrumentality of interstate commerce or the mails in any business the principal purpose of which

 is the collection of any debts, or who regularly collects or attempts to collect, directly or indirectly,

 debts owed or due or asserted to be owed or due another.” 15 U.S.C. § 1692a(6) (emphasis added).

        47.       “The FDCPA does not ordinarily require proof of intentional violation and, as a

 result, is described by some as a strict liability statute.” See LeBlanc v. Unifund CCR Partners, 601

 F.3d 1185, 1190 (11th Cir. 2010) (citing 15 U.S.C. § 1692k).

        48.       For the purposes of the claims brought in this action, the applicable standard under

 the FDCPA in the Eleventh Circuit is “the least sophisticated” consumer test. See Jeter v. Credit

 Bureau, Inc., 760 F.2d 1168, 1175 (11th Cir. 1985) (adopting the test enunciated in Exposition Press

 Inc. v. FTC, 295 F.2d 869 (2d Cir. 1961)).
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         49.       The principles underlying the FDCPA must be implemented for “the public— that

 vast multitude which includes the ignorant, the unthinking and the credulous.” Jeter, 760 F.2d at

 1172-73 (internal citations omitted). The “fact that a false statement may be obviously false to those

 who are trained and experienced does not change its character, nor take away its power to deceive

 others less experienced.” Id. at 1173 (internal citations omitted).

         50.       There is only one affirmative defense to liability for a violation of the FDCPA, the

 “bona fide error” defense. 15 U.S.C. §1692k(c).

         51.       To take advantage of this defense, the defendant must show by the preponderance

 of the evidence that its violation of the Act was not intentional, was a bona fide error, and occurred

 despite the maintenance of procedures reasonably adapted to avoid any such error. Edwards v.

 Niagara Credit Solutions, Inc., 584 F.3d 1350, 1352-53 (11th Cir. 2009).

         The FCCPA

         52.       The FCCPA’s goal is to “provide the consumer with the most protection possible.”

 See LeBlanc at 1192 (citing Fla. Stat. § 559.552).

         53.       The FCCPA provides that no person shall “claim, attempt, or threaten to enforce a

 debt when such person knows that the debt is not legitimate, or assert the existence of some other

 legal right when such person knows that the right does not exist.” Fla. Stat. § 559.72(9).

         54.       “The court may, in its discretion, award punitive damages and may provide such

 equitable relief as it deems necessary or proper, including enjoining the defendant from further

 violations of this part.” Fla. Stat. §559.77(2).

         55.       As a consumer, Mrs. Riccardi has a private right of action against SNSC

 pursuant to Florida Statute §559.77(2), which provides that “[a]ny person who fails to comply with

 any provision of s. 559.72 is liable for actual damages and for additional statutory damages . . . not
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 exceeding $1,000, together with court costs and reasonable attorney’s fees incurred by the plaintiff.”

 (omissions added).

                                    FACTUAL ALLEGATIONS

        56.       Before the Note and Mortgage were assigned to US Bank, it was previously owned

 by Wilmington Savings Fund Society, FSB, as Owner Trustee of the Residential Credit

 Opportunities Trust V-D (“Wilmington”).

        57.       The Note on the Home was amended to reflect payments of principal and interest

 totaling $1,152.22, which became effective on May 1, 2020, with the first payment becoming due

 on June 1, 2020 (“Second Amended Note”).

        58.       The property taxes and insurance are paid separately by Mrs. Riccardi who sends

 her taxes to Broward County directly and her homeowners insurance payments to TypTap.

        59.       Mrs. Riccardi has never missed a payment on her Loan since the Second Amended

 Note became effective.

        60.       Additionally, Mrs. Riccardi has established the habit of paying one month ahead of

 her due date.

        61.       Based on information and belief, Mrs. Riccardi made Loan payments to

 Wilmington from June 1, 2020, through June 25, 2021 in the amount of $1,152.22.

        62.       In July of 2021, Fay Servicing, LLC became the servicer of the Loan, so Mrs.

 Riccardi submitted Loan payments through May 19, 2022.

        63.       Then, in June of 2022, SNSC became the servicer of the Loan, so Mrs. Riccardi

 began submitting monthly payments to SNSC.
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        64.       Despite being one month ahead on her Loan payments and paying her taxes and

 insurance directly, SNSC has continuously asserted that Mrs. Riccardi needs to bring her loan

 current.

        65.       Mrs. Riccardi has communicated this error to SNSC multiple times through phone

 calls, by mail, and at times through her former bankruptcy attorney Robert J. Bigge, Jr. (“Attorney

 Bigge”).

        66.       To clarify SNSC’s confusion, Attorney Bigge sent SNSC a letter with the Second

 Amended Note attached dated July 13, 2022. A copy of Attorney Bigge’s letter is attached as Exhibit

 “A.”

        67.       Attorney Bigge’s letter was necessary because SNSC continued to wrongfully insist

 Mrs. Riccardi was delinquent on her mortgage because she had failed to pay her taxes and insurance,

 which would be placed into escrow.

        68.       On July 25, 2022, Mrs. Riccardi applied for a Capital One credit card and was

 denied, but she did not know why at the time, so she began reviewing her available credit reports

 from the CRAs.

        69.       On August 25, 2022, Mrs. Riccardi sent SNSC proof of her recent payment to

 SNSC of $1,152.22, a copy of her recent Broward County Property Tax bill showing the amount

 due as $0, and her recent insurance payment to TypTap. A redacted copy of the August 25, 2022

 proof of payments sent to SNSC is attached as Exhibit “B.”

        70.       In August of 2022, Mrs. Riccardi noticed her Trans Union credit report showed her

 only trade account from Fay Servicing, LLC was reporting her account as late from February ’22

 through June ’22; the account is also listed as “Transferred.”
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        71.       Under the “Scheduled Payment” section of Mrs. Riccardi’s Trans Union credit

 report, Fay Servicing was reporting an amount due of $1,827, which lead to Mrs. Riccardi being

 reported as late since she was submitting $1,152. 22 each month.

        72.       Mrs. Riccardi also noticed her Equifax credit report showed the Fay Servicing

 account being reported as late for February ’22 and March ’22.

        73.       Mrs. Riccardi has been unable to get a copy of her Experian report.

        74.       As a result, on or about September 15, 2022, Mrs. Riccardi submitted written

 disputes to Trans Union, Equifax, and Experian (“Credit Reporting Agencies” or “CRAs”) as

 required by the FCRA, who then forwarded the dispute to Fay Servicing. (“Initial Disputes”).

        75.       A redacted copy of the Initial Disputes are attached hereto as part of Composite

 Exhibit “C.”

        76.       In her written disputes Mrs. Riccardi provided proof that her Mortgage payments

 were $1,152.22 per month, that she pays her taxes directly to Broward County, and that she sends

 her insurance payments to TypTap. See Exhibit “C.”

        77.       After her written disputes were sent to the CRAs and then forwarded to Fay

 Servicing, Mrs. Riccardi reviewed her credit reports and saw the disputed account with was still

 being reported as late for the same months as in her Initial Disputes.

         78.      Based on information and belief, this same disputed account that has been viewed

 by one or more third parties in connection with applications for credit, account reviews, and other

 permissible purposes under the FCRA.

         79.      Specifically, on October 20, 2022 Mrs. Riccardi applied for credit through

 Comenity Bank who issues store card accounts through Bealls; Mrs. Riccardi was denied credit.
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          80.     Based on information and belief, the disputed account was viewed by Comenity

 Bank and was a substantial factor in the decision to deny credit to Mrs. Riccardi.

          81.     On or about November 1, 2022, Mrs. Riccardi applied for a Capital One Credit card

 again; she was approved for a $200 credit limit.

          82.     Based on information and belief, the disputed account was viewed by Capital One

 who and was a substantial factor in the interest rate, credit limit, and other terms offered to Mrs.

 Riccardi as a result.

          83.     On or about November 9, 2022, Mrs. Riccardi applied for a Credit One Bank credit

 card, but she was denied credit.

          84.     Based on information and belief, the disputed account was viewed by Credit One

 Bank and was a substantial factor in the decision to deny credit to Mrs. Riccardi.

          85.     With each denial of credit or granting of a reduced credit line at an increased interest

 rate, Mrs. Riccardi suffered damages in multiple forms including frustration, emotional and mental

 distress, lost opportunity to benefit from credit, and misrepresentation of an amount to potential

 creditors.

          86.     On or about December 6, 2022, an SNSC Representative emailed Mrs. Riccardi

 and stated in relevant part: “I wanted to go over the escrow with you as you are not escrowed

 anymore per the Modification you had on your loan. You have some extra funds that I would like to

 discuss the placement with you to assist you in bringing your account current.”

          87.     While SNSC finally acknowledged the fact that Mrs. Riccardi’s Loan was not

 escrowed, SNSC was still wrongfully asserting that her Loan is delinquent.
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          88.      Based on information and belief, SNSC has not been applying Mrs. Riccardi’s

 monthly $1,152. 22 monthly payments to principal and interest, but has rather placed them in a

 suspense account because SNSC wrongfully asserted her account was escrowed.

          89.      To make matters worse, SNSC has recently submitted the funds in suspense to

 Broward County to make Mrs. Riccardi’s tax payments for the upcoming quarter.

          90.      On December 8, 2022, SNSC claimed Mrs. Riccardi was delinquent on her

 mortgage based on Fay Servicing, LLC’s previous statements which wrongfully asserted her

 payments were $1,827 inclusive of escrow.

          91.      A redacted copy of the December 8, 2022, email and is attached as Exhibit “D.”

          92.      A redacted copy of the monthly statement attached to December 8, 2022, email is

 attached as Exhibit "E.”

          93.      Most recently, SNSC sent a monthly statement to Mrs. Riccardi for her January

 2023 payment, which claimed a total amount due of $10,605.60. A redacted copy of the most recent

 statement is attached as Exhibit “F.”

                        COUNT I – VIOLATIONS OF 15 U.S.C. §1681s-2(b)
                                 AGAINST FAY SERVICING

          94.      Plaintiff incorporates by reference paragraphs 1, 3, 4, 7, 9 -13, 24 -41, 56 - 62, 68,

 and 70 - 85 as if fully stated herein.

          95.      Fay Servicing is a furnisher under the FCRA because it provides information

 concerning consumers to credit reporting agencies.

          96.      Fay Servicing violated 15 U.S.C. §1681s-2(b) by failing to fully and properly

 investigate Plaintiff’s Initial Dispute when it failed to review all relevant information provided by

 the CRAs.
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          97.      Additionally, Fay Servicing violated §1681s-2(b) by failing to accurately respond

   or completely failing to respond to Plaintiff’s Initial Dispute sent to the CRAs.

          98.      As a result of Fay Servicing’s violations of the FCRA, Plaintiff has been damaged.

          99.      Plaintiff’s damages include damages include emotional distress associated with the

   Fay Servicing account not being corrected, credit denials, credit being granted at increased rates

   as the result of the account being viewed by credit grantors, loss of credit and the opportunity to

   benefit from credit, time spent dealing with credit report disputes, and the costs associated with

   disputes.

          100.     Fay Servicing negligently violated FCRA entitling Plaintiff to recover under 15

   U.S.C. §1681o.

          101.     Additionally, Fay Servicing committed a willful violation of the FCRA entitling

   Plaintiff to recover under 15 U.S.C. §1681n(a).

          102.     Plaintiff is entitled to an award of prevailing party attorney’s fees pursuant to 15

   U.S.C. §1681.

            WHEREFORE, Plaintiff, prays this Honorable Court to enter the following relief against

   Fay Servicing in the form of actual damages, statutory damages, punitive damages, Attorneys’

   fees, litigation expenses and costs, interest as permitted by law, and such other and further relief

   including as the Court deems equitable and just under the circumstances.

   recover under 15 U.S.C. §1681o.

                        COUNT II - VIOLATIONS OF 15 U.S.C. §1692e(8)
                                 AGAINST FAY SERVICING

          103.     Plaintiff incorporates by reference paragraphs 1, 3, 4, 6, 9 – 16, 42 – 51, 56 – 62,

  68, and 70 - 85 as if fully stated herein.
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         104.      A “debt collector” violates 15 U.S.C. §1692e(8)           by “[c]ommunicating or

  threatening to communicate to any person credit information which is known or which should be

  known to be false, including the failure to communicate that a disputed debt is disputed.”

         105.      SNSC violated §1692e(8) when it communicated false credit information to the

  CRAs by stating:

                a. the monthly payments were $1,827

                b. Plaintiff was delinquent on her mortgage for several months; and

                c. There is no notation of a dispute on her credit files.

         106.      Each month that Fay Servicing communicated false credit information regarding

  Plaintiff constitutes a violation of §1692e(8).

         107.      Additionally, Fay Servicing has violated §1692e(8) each time the false credit

  information was viewed by a third party in connection with an account review, offer of credit, or

  application of credit.

         108.      The FDCPA is a strict liability statute and accordingly Defendant’s conduct need

  not have been intentional, Defendant’s conduct violated the FDCPA regardless of its intentions.

  See LeBlanc at 1190.

         109.      Fay Servicing’s conduct is a violation of the FDCPA if it would be deceptive to the

   least-sophisticated consumer. Id.at 1194 (stating “[t]he fact that a false statement may be obviously

   false to those who are trained and experienced does not change its character, nor take away its

   power to deceive others less experienced.”)

         110.      Fay Servicing, through its agents, representatives, and/or employees acting within

  the scope of their authority, violated 15 U.S.C. §1692e(8).
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          111.       15 U.S.C. § 1692k(a) provides that a debt collector who fails to comply with any

   provision of the FDCPA with respect to any person is liable to such person for up to $1,000 in

   statutory damages, actual damages, the costs of the action, together with a reasonable attorney’s

   fee as determined by the court.

          112.       As a result of Fay Servicing’s violations, Plaintiff has suffered damages including

   but not limited to, credit denials time spent addressing Defendant’s illegal collection practices,

   misrepresentation of an amount to a third party, damage to her reputation for credit worthiness,

   an inaccurate credit report, a higher interest rate on credit she has been approved for, and

   emotional distress because of Fay Servicing’s actions or inactions.

                WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in her favor

   and against Fay Servicing for:

           a.        Actual and statutory damages pursuant to 15 U.S.C. § 1692k;

           b.        Attorneys’ fees, litigation expenses and costs of the instant suit; and

           c.        Such other or further relief as the Court deems proper.

                       COUNT III - VIOLATIONS OF FLA. STAT. §559.72(5)
                     AGAINST FAY SERVICING FOR DISCLOSURES TO SNSC

          113.       Plaintiff incorporates by reference paragraphs 1, 3 – 5, 8 – 15, 52 – 55, 68, and 70

   - 85 as if fully stated herein.

          114.       At all relevant times to this action, Fay Servicing is subject to and must abide by

   the laws of Florida, including Fla. Stat. §559.72.

          115.       Fay Servicing violated Florida Statute § 559.72(5) by disclosing to a person other

   than the Plaintiff or his family information affecting Plaintiff’s reputation, whether or not for

   credit worthiness, with knowledge or reason to know that the other person does not have a

   legitimate business need for the information or that the information is false. (emphasis added).
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         116.     Specifically, Fay Servicing disclosed false information affecting Plaintiff’s

   reputation to SNSC: that Plaintiff was delinquent on her mortgage despite having never missed a

   payment since her Loan was modified in May 2020.

         117.     If Fay Servicing would have disclosed accurate information to SNSC regarding

   Plaintiff’s mortgage payments, payment history, and account status she would not have been

   subjected to SNSC’s claims that she is delinquent.

         118.     “Any person who fails to comply with any provision of s. 559.72 is liable for actual

   damages and for additional statutory damages as the court may allow, but not exceeding $1,000,

   together with court costs and reasonable attorney’s fees incurred by the plaintiff. In determining

   the defendant’s liability for any additional statutory damages, the court shall consider the nature

   of the defendant’s noncompliance with s.559.72, the frequency and persistence of the non-

   compliance, and the extent to which the noncompliance was intentional.” Fla. Stat. 559.77(2)

   (emphasis added).

         119.     As a result of Fay Servicing’s violations, Plaintiff suffered damages, including but

   not limited to, time spent addressing Defendant’s illegal collection practices, damage to her

   reputation for credit worthiness, misrepresentation of an amount to a third party, and the emotional

   and mental distress associated with Fay Servicing’s actions or inactions.

         120.     Damages in the form of reputation being affected are the “class of injury where

   damages are difficult to prove and at the same time provide a penalty to dissuade parties . . . from

   engaging in collection practices which may have been heretofore tolerated industry wide.” See

   Laughlin v. Household Bank, 969 So. 2d 509, 513 (Fla. 1st DCA. 2007) (quoting Harris v.

   Beneficial Finance Company of Jacksonville, 338 So.2d 196, 200 (Fla. 1976)). Accordingly,

   Plaintiff “is not required to prove actual damages, but only a violation of one of the prohibited
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   practices in the FCCPA.” Id. “As discussed above, by enacting section 559.77, the Legislature

   intended to provide statutory damages in an area where the amount of damages are difficult to

   calculate.” Id. at 514.

           WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in her favor and

   against for: actual damages, statutory damages, and punitive damages pursuant to Fla. Stat.

   §559.77; attorneys’ fees, litigation expenses and costs of the instant suit; and such other or further

   relief as the Court deems proper.

                      COUNT IV – VIOLATIONS OF FLA. STAT. §559.72(9)
                                AGAINST FAY SERVICING

          121.     Plaintiff incorporates by reference paragraphs 1, 3 – 5, 8 -15, 52 – 55, 68, and 70 –

   85 as if fully stated herein

          122.     At all relevant times to this action, Fay Servicing is subject to and must abide by

   the laws of Florida, including Fla. Stat. §559.72.

          123.     Fay Servicing violated Florida Statute § 559.72(9) by claiming, attempting, or

   threatening to enforce a debt when Defendant knew that the debt was not legitimate, or asserting

   the existence of some other legal right when Defendant knew that right did not exist.

          124.     Specifically, Fay Servicing’s monthly statements sent to Mrs. Riccardi wrongfully

   claimed she was delinquent, that her mortgage had escrow, and that her monthly payment amount

   was $1,827 instead of the modified $1,152 that Fay Servicing had knowledge of.

          125.    “Any person who fails to comply with any provision of s. 559.72 is liable for actual

   damages and for additional statutory damages as the court may allow, but not exceeding $1,000,

   together with court costs and reasonable attorney’s fees incurred by the plaintiff. In determining

   the defendant’s liability for any additional statutory damages, the court shall consider the nature

   of the defendant’s noncompliance with s.559.72, the frequency and persistence of the non-
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   compliance, and the extent to which the noncompliance was intentional.” Fla. Stat. 559.77(2)

   (emphasis added).

          126.   As a result of Defendant’s violations, Plaintiff suffered damages, including but not

   limited to, time spent addressing Defendant’ illegal collection practices and related emotional

   distress.

                 WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in her

   favor and against Fay Servicing for: actual damages, statutory damages, and punitive damages

   pursuant to Fla. Stat. §559.77; attorneys’ fees, litigation expenses and costs of the instant suit; and

   such other or further relief as the Court deems proper.

                        COUNT V – VIOLATIONS OF 15 U.S.C. §1692e(2)(A)
                                      AGAINST SNSC

          127.    Plaintiff incorporates by reference paragraphs 2, 3 – 6, 9, 10, 17 – 23, 42 – 51, 56

  – 61, 63 – 69, and 86 – 93 as if fully stated herein.

          128.    Plaintiff is not delinquent on her mortgage and there is no escrow on her Loan.

   Nonetheless, SNSC has continuously and wrongfully insisted the opposite.

          129.    Therefore, SNSC violated §1692e(2)(A) of the FDCPA by misrepresenting the

  character, legal status, and amount of the debt in all communications to Plaintiff.

          130.    Defendant’s conduct is a violation of the FDCPA if it would be deceptive to the

  least-sophisticated consumer. Id.; See also LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1194

  (11th Cir. 2010) (stating “[t]he fact that a false statement may be obviously false to those who are

  trained and experienced does not change its character, nor take away its power to deceive others

  less experienced.”)
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          131.    The FDCPA is a strict liability statute and accordingly Defendant’s conduct need

  not have been intentional, Defendant’s conduct violated the FDCPA regardless of its intentions.

  See LeBlanc at 1190.

          132.    Defendant, through its agents, representatives, and/or employees acting within the

  scope of their authority, violated 15 U.S.C. §1692e(2)(A).

          133.    15 U.S.C. § 1692k(a) provides that a debt collector who fails to comply with

  any provision of the FDCPA with respect to any person is liable to such person for up to $1,000 in

  statutory damages, actual damages, the costs of the action, together with a reasonable attorney’s fee

  as determined by the Court.

          134.    As a result of Defendant’s violations, Plaintiff suffered damages, including but not

   limited to, time spent addressing Defendant’s illegal collection practices.

          WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in his favor

   and against Defendant for:

          a.      Actual and statutory damages pursuant to 15 U.S.C. § 1692k;

          b.      Attorneys’ fees, litigation expenses and costs of the instant suit; and

          c.      Such other or further relief as the Court deems proper.

                         COUNT VI – VIOLATION OF 15 U.S.C. §1692e(10)
                                       AGAINST SNSC

          135.    Plaintiff incorporates by reference the allegations in paragraphs 2, 3 – 6, 9, 10, 17

   - 23, 42 – 51, 56 - 61, 63 – 69, and 86 – 93 as is fully set forth herein.

          136.    A debt collector may not use any false, deceptive, or misleading representation or

  means in connection with the collection of any debt. Johnson v. Midland Funding, LLC, 823 F.3d

  1334 (11th Cir. 2016).

          137.    SNSC has sought to collect money from Plaintiff that is not owed because she has
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  never missed a payment on her mortgage since it was modified in May of 2020.

          138.    SNSC has sent monthly statements to Plaintiff while servicing her loan that falsely

   represent the status of her Loan as delinquent and that she is past due for multiple months.

          139.    SNSC through its agents, representatives, and/or employees acting within the scope

   of their authority, violated 15 U.S.C. §1692e(10).

          140.    15 U.S.C. § 1692k(a) provides that a debt collector who fails to comply with any

   provision of the FDCPA with respect to any person is liable to such person for up to $1,000 in

   statutory damages, actual damages, the costs of the action, together with a reasonable attorney’s

   fee as determined by the court.

          141.    As a result of SNSC’s violations, Plaintiff has suffered damages including but not

   limited to, time spent addressing Defendant’s illegal collection practices and emotional distress

   associated with SNSC’s repeated insistence that she is delinquent on her mortgage.

           WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in her favor and
   against SNSC for:
           a.   Actual and statutory damages pursuant to 15 U.S.C. § 1692k;

          b.      Attorneys’ fees, litigation expenses and costs of the instant suit; and

          c.      Such other or further relief as the Court deems proper.

                      COUNT VII – VIOLATIONS OF FLA. STAT. §559.72(9)
                                      AGAINST SNSC

          142.    Plaintiff incorporates by reference the allegations in paragraphs 2, 3 – 6, 8 – 10, 17

   – 22, 52 – 61, 63 – 69, and 86 - 93 as if fully set forth herein.

          143.    At all relevant times to this action, Fay Servicing is subject to and must abide by

  the laws of Florida, including Fla. Stat. §559.72.

          144.    SNSC violated Florida Statute § 559.72(9) by claiming, attempting, or
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   threatening to enforce a debt when Defendant knew that the debt was not legitimate or asserting

   the existence of some other legal right when Defendant knew that right did not exist.

          145.       Specifically, SNSC’s monthly statements sent to Mrs. Riccardi wrongfully claimed

  she was delinquent, that her mortgage had escrow, and that her monthly payment amount was

  $1,827 instead of the modified $1,152, which SNSC had direct knowledge of.

          146.       “Any person who fails to comply with any provision of s. 559.72 is liable for actual

  damages and for additional statutory damages as the court may allow, but not exceeding $1,000,

  together with court costs and reasonable attorney’s fees incurred by the plaintiff. In determining the

  defendant’s liability for any additional statutory damages, the court shall consider the nature of the

  defendant’s noncompliance with s.559.72, the frequency and persistence of the non-compliance,

  and the extent to which the noncompliance was intentional.” Fla. Stat. 559.77(2) (emphasis added).

          147.       As a result of Defendant’s violations, Plaintiff suffered damages, including but not

  limited to, time spent addressing Defendant’ illegal collection practices and related emotional

  distress.

              WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in her favor and

  against SNSC for: actual damages, statutory damages, and punitive damages pursuant to Fla. Stat.

  §559.77; attorneys’ fees, litigation expenses and costs of the instant suit; and such other or further

  relief as the Court deems proper.

                                               JURY DEMAND

          148.       Plaintiff demands a trial by jury on all issues so triable.

                                                     Respectfully submitted,
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